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     Fill in this information to identify the case:

     Debtor 1 MICHAEL T VENNUM
     Debtor 2      DENISE M VENNUM
     (Spouse, if filing)

     United States Bankruptcy Court for the: Western District of Pennsylvania
     Case number 20-20009-GLT




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor’s plan provides for payment of post petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                 Court claim no. (if known): 3

  Last four digits of any number you           3474                             Date of payment change:                     12/01/2022
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $2,547.76
                                                                                Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 646.98            New escrow payment:           $ 677.63

  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                              %                New interest rate:                                %

               Current principal and interest payment: $ _________                New principal and interest payment: $ __


  Part 3: Other Payment Change

     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
            modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                        New mortgage payment: $




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   Debtor1        MICHAEL T VENNUM                                    Case number (if known) 20-20009-GLT
                  First Name        Middle Name      Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
          I am the creditor.

          I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Mario Hanyon
            Signature
                                                                                     Date 11/01/2022



   Print: Mario Hanyon (203993)
              First Name          Middle Name        Last Name                       Title Attorney



   Company Brock & Scott, PLLC

   Address 8757 Red Oak Blvd., Suite 150
                 Number                   Street


                 Charlotte, NC 28217
   City           State        ZIP Code


   Contact phone 844-856-6646 x4560                                                  Email PABKR@brockandscott.com




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                              Pittsburgh Division


 IN RE:
 MICHAEL T VENNUM AND DENISE M VENNUM                                Case No. 20-20009-GLT
                                                                     Chapter 13
 Freedom Mortgage Corporation,
          Movant
                                                                        Hearing Date: TBD

                                                                        Hearing Time: TBD

                                                                        Objection Date: TBD

 vs.

 MICHAEL T VENNUM AND DENISE M VENNUM,
        Debtors
 and

 Ronda J Winnecour
         Respondent




                CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

        I certify under penalty of perjury that on this day, I served or caused to be served the Notice of Mortgage Payment
Change on the parties at the addresses shown below or on the attached list.

         The type(s) of service made on the parties (first-class mail, electronic notification, hand delivery, or another type of
service) was:

Via CM/ECF electronic notice:

 Daniel P. Foster, Esq.                                          Ronda J Winnecour
 Foster Law Offices                                              Suite 3250, USX Tower
 1210 Park Avenue                                                600 Grant Street
 Meadville, PA 16335                                             Pittsburgh, PA 15219
 Counsel for Debtor                                              Chapter 13 Trustee



 Office of the United States Trustee
 Liberty Center.
 1001 Liberty Avenue, Suite 970
 Pittsburgh, PA 15222
 US Trustee
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Via First Class Mail:

 MICHAEL T VENNUM                                               Ronda J Winnecour
 131 CRIMSON DR                                                 Suite 3250, USX Tower
 PITTSBURGH, PA 15237-1069                                      600 Grant Street
                                                                Pittsburgh, PA 15219
 DENISE M VENNUM                                                Chapter 13 Trustee
 131 CRIMSON DR
 PITTSBURGH, PA 15237-1069
 Debtor

         If more than one method of service was employed, this certificate of service groups the parties by the type of service.
For example, names and addresses of parties served by electronic notice will be listed under the heading “Via CM/ECF
electronic notice” and those served by mail will be listed under the heading “Via First Class Mail”.

EXECUTED ON: November 1, 2022
                                                       /s/Mario Hanyon
                                                       Andrew Spivack, PA Bar No. 84439
                                                       Matt Fissel, PA Bar No. 314567
                                                       Mario Hanyon, PA Bar No. 203993
                                                       Ryan Starks, PA Bar No. 330002
                                                       Jay Jones, PA Bar No. 86657
                                                       Attorney for Creditor
                                                       BROCK & SCOTT, PLLC
                                                       8757 Red Oak Boulevard, Suite 150
                                                       Charlotte, NC 28217
                                                       Telephone: (844) 856-6646
                                                       Facsimile: (704) 369-0760
                                                       E-Mail: PABKR@brockandscott.com

PAWB Local Form 7 (07/13)
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